Case 1:09-cv-00597-LMB-TCB Document 262 Filed 03/11/11 Page 1 of 4 PageID# 3865




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


 Intersections Inc. and Net Enforcers, Inc.,

                         Plaintiffs,                     Civil Action No. 1:09CV597 (LMB/TCB)
                   v.

 Joseph C. Loomis and Jenni M. Loomis,

                         Defendants.


      PLAINTIFFS’ REPLY TO DEFENDANT’S RESPONSE TO COURT’S INQUIRY
                CONCERNING PLAINTIFFS’ ALLEGED PROFFERS

         Plaintiffs Intersections Inc. and Net Enforcers, Inc. (collectively, “Plaintiffs”) respectfully

 submit this Reply to Defendant Joseph C. Loomis’ (“Loomis”) “Response to Court’s Inquiry

 Concerning Plaintiffs’ Proffers of Alleged Misconduct by Defendant Joseph C. Loomis”

 (“Loomis’ Response”), filed with the Court on March 10, 2011.

         Loomis’ Response was not requested nor required by the Court. Rather, it is an improper

 post-hearing attempt by Loomis to supplement the record, and as such, should not be considered

 by the Court.          Although Plaintiffs disagree with most, if not all, of Loomis’ contentions,

 Plaintiffs will not address each such contention individually herein but are prepared to do so

 upon the Court’s request. It bears noting, however, that the first four “allegations” identified in

 Loomis’ Response relate to the appropriateness of this Court’s issuance of the Protective Order

 on October 30, 2009. Presumably, this is an attempt by Loomis to submit a reply to Plaintiffs’

 Opposition to Motion to Vacate the Protective Order to which Loomis chose not to respond

 before the hearing. The propriety of the issuance of the Protective Order, however, was not

 raised by Loomis or Plaintiffs in the briefing before or at the hearing and thus is not before the




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Case 1:09-cv-00597-LMB-TCB Document 262 Filed 03/11/11 Page 2 of 4 PageID# 3866



 Court. Indeed, Loomis has never challenged the Protective Order as unwarranted. He only has

 contended that the Protective Order does not comply with certain technical statutory

 requirements. Loomis’ arguments on this new point thus are irrelevant. The fifth and sixth

 “allegations” identified by Loomis in his Response address Loomis’ violation of the Protective

 Order. Loomis offers no new arguments or facts, but rather repeats that which he previously

 stated in briefs to the Court; Plaintiffs previously addressed these contentions in their papers in

 support of their Motion for Sanctions due to Loomis’ violation of the Protective Order. Finally,

 Loomis’ “seventh” allegation addresses Plaintiffs’ Motion for Sanctions Due To Loomis’

 Intentional Destruction of Evidence. The “allegation” Loomis identifies, however, was not the

 basis for Plaintiffs’ Motion, as Plaintiffs previously explained.        Loomis is tellingly silent

 regarding the material allegations in Plaintiffs’ Motion.

         Loomis’ post-hearing attempt to supplement the record is untimely and should not be

 considered by this Court. Moreover, his contention that discovery and a plenary hearing are

 required rings hollow. Loomis asked the Court to permit him to present live testimony at the

 March 4, 2011 hearing. The Court granted his request. Loomis, however, chose not to present

 any witnesses. His post-hearing request should be denied, if it is even considered by the Court.

 Dated: March 11, 2011                          Respectfully submitted,

                                                By:       /s/
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Case 1:09-cv-00597-LMB-TCB Document 262 Filed 03/11/11 Page 3 of 4 PageID# 3867




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Case 1:09-cv-00597-LMB-TCB Document 262 Filed 03/11/11 Page 4 of 4 PageID# 3868



                               CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of March, 2011, I will electronically file the
 foregoing Plaintiffs’ Reply to Defendant Joseph C. Loomis’ “Response to Court’s Inquiry
 Concerning Plaintiffs’ Proffers of Alleged Misconduct by Defendant Joseph C. Loomis” with the
 Clerk of the Court using the CM/ECF system, which will then send a notification of such filing
 (NEF) to the following:

                      Timothy J. McEvoy
                      Cameron McEvoy, PLLC
                      11325 Random Hills Road
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                      Counsel for Defendant Joseph C. Loomis

 I further certify that I caused the foregoing Plaintiffs’ Reply to Defendant Joseph C. Loomis’
 “Response to Court’s Inquiry Concerning Plaintiffs’ Proffers of Alleged Misconduct by
 Defendant Joseph C. Loomis” to be served via overnight mail to the following:

                      Jenni Loomis
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                                                        /s/
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